                 Case 23-10699-CTG               Doc 27       Filed 06/30/23         Page 1 of 27




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11
AGSPRING LLC, et al.,1
                                                                 Case No. 23-10699 (CTG)
                             Debtors.                            (Jointly Administered)




     GLOBAL NOTES AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES
     OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Agspring, LLC and certain of its affiliates, as debtors and debtors in possession in the
above-captioned chapter 11 cases, (the “Debtors”) have each filed their respective Schedules of
Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the “Statements”) in
the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”). The
Debtors, with the assistance of their legal and financial advisors, prepared the Schedules and
Statements in accordance with section 521 of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”), Rule 1007 of the Federal Rules of Bankruptcy Procedure, and Rule 1007-1
of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court
for the District of Delaware.

        Kyle Sturgeon has signed each set of the Schedules and Statements. Mr. Sturgeon serves
as the Chief Restructuring Officer of the Debtors. In reviewing and signing the Schedules and
Statements, Mr. Sturgeon has necessarily relied upon the efforts, statements, and representations
of various third parties involved in the Debtors’ operations, including personnel from the Debtors’
shared services provider and the Debtors’ other professionals. Mr. Sturgeon has not (and could
not have) personally verified the accuracy of each such statement and representation, including
statements and representations concerning amounts owed to creditors.

       In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made every reasonable effort to ensure the accuracy and completeness of the
Schedules and Statements, subsequent information or discovery may result in material changes to
the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
avoidance of doubt, the Debtors hereby reserve their rights to amend and supplement the
Schedules and Statements as may be necessary or appropriate.

         The Debtors and their agents, attorneys, and financial advisors do not guarantee or warrant
1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Agspring, LLC (7735); Agspring Idaho 1, LLC (1720); Agspring Idaho 2, LLC (9262); Agspring Idaho, LLC
(8754); FO-ND, LLC dba Firebrand Artisan Mills (1520) and Agspring Logistics, LLC, dba Agforce (6067). The
Debtors’ mailing address is 5101 College Boulevard, Leawood KS, 66211
                                                            1
US_ACTIVE\123995356\V-1
               Case 23-10699-CTG         Doc 27       Filed 06/30/23    Page 2 of 27




the accuracy or completeness of the data that is provided herein, and shall not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting, communicating,
or delivering the information contained herein. While commercially reasonable efforts have been
made to provide accurate and complete information herein, inadvertent errors or omissions may
exist. The Debtors and their agents, attorneys, and financial advisors expressly do not undertake
any obligation to update, modify, revise, or re-categorize the information provided herein, or to
notify any third party should the information be updated, modified, revised, or re-categorized,
except as required by applicable law. In no event shall the Debtors or their officers, employees,
agents, or professionals be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their officers, employees, agents, attorneys, or their professionals are advised of the possibility of
such damages.

                          Global Notes and Overview of Methodology

1.      Description of Cases. Information regarding the cases may be found in the Declaration of
        Kyle Sturgeon in support of Petitions. [Docket No. 3]. Mr. Surgeon is the Chief
        Restructuring Officer assisting the Debtors in their immediate goals of preserving their
        remaining assets and effectuating an orderly liquidation. On May 31, 2023, (the “Petition
        Date”), each of the Debtors filed voluntary petitions for relief under chapter 11 of the
        Bankruptcy Code.. On June 2, 2023, an order was entered directing joint administration of
        these chapter 11 cases [Docket No. 8]. Notwithstanding the joint administration of the
        Debtors’ cases for procedural purposes, each Debtor has filed its own Schedules and
        Statements. The information provided herein, except as otherwise noted, is reported as of
        the Petition Date.

2.      Global Notes Control. These Global Notes pertain to and comprise an integral part of
        each of the Debtors’ Schedules and Statements and should be referenced in connection
        with any review thereof. In the event that the Schedules and Statements conflict with these
        Global Notes, these Global Notes shall control.

3.      Reservations and Limitations. Reasonable efforts have been made to prepare and file
        complete and accurate Schedules and Statements; however, as noted above, inadvertent
        errors or omissions may exist. The Debtors reserve all rights to amend and supplement the
        Schedules and Statements as may be necessary or appropriate. Nothing contained in the
        Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an
        admission of any kind with respect to these chapter 11 cases, including, but not limited to,
        any rights or claims of the Debtors against any third party or issues involving substantive
        consolidation, equitable subordination, or defenses or causes of action arising under the
        provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable
        bankruptcy or non-bankruptcy laws to recover assets or avoid transfers. Any specific
        reservation of rights contained elsewhere in the Global Notes does not limit in any respect
        the general reservation of rights contained in this paragraph.

        a.      No Admission. Nothing contained in the Schedules and Statements is intended or
                                                  2
US_ACTIVE\123995356\V-1
               Case 23-10699-CTG         Doc 27       Filed 06/30/23    Page 3 of 27




                should be construed as an admission or stipulation of the validity of any claim
                against the Debtors, any assertion made therein or herein, or a waiver of the
                Debtors’ rights to dispute any claim or assert any cause of action or defense
                against any party.

        b.      Recharacterization. Notwithstanding that the Debtors have made reasonable
                efforts to correctly characterize, classify, categorize, or designate certain claims,
                assets, executory contracts, unexpired leases, and other items reported in the
                Schedules and Statements, the Debtors nonetheless may have improperly
                characterized, classified, categorized, or designated certain items. The Debtors
                thus reserve all rights to recharacterize, reclassify, recategorize, or redesignate
                items reported in the Schedules and Statements at a later time as is necessary and
                appropriate.

        c.      Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
                “executory” or “unexpired” does not constitute an admission by the Debtors of the
                legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
                rights to recharacterize or reclassify such claim or contract.

        d.      Claims Description. Any failure to designate a claim on a given Debtor’s
                Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
                constitute an admission by the Debtor that such amount is not “disputed,”
                “contingent,” or “unliquidated.” The Debtors reserve all rights to dispute, or assert
                offsets or defenses to, any claim reflected on their respective Schedules and
                Statements on any grounds, including, without limitation, liability or
                classification, or to otherwise subsequently designate such claims as “disputed,”
                “contingent,” or “unliquidated” or object to the extent, validity, enforceability,
                priority, or avoidability of any claim. Moreover, listing a claim does not constitute
                an admission of liability by the Debtor against which the claim is listed or by any
                of the Debtors. The Debtors reserve all rights to amend their Schedules and
                Statements as necessary and appropriate, including, but not limited to, with
                respect to claim description and designation.

        e.      Estimates and Assumptions. The preparation of the Schedules and Statements
                required the Debtors to make reasonable estimates and assumptions with respect
                to the reported amounts of assets and liabilities, the amount of contingent assets
                and contingent liabilities on the Petition Date, and the reported amounts of
                revenues and expenses during the applicable reporting periods. Actual results
                could differ from such estimates.

        f.      Intellectual Property Rights. Exclusion of certain intellectual property should not
                be construed to be an admission that such intellectual property rights have been
                abandoned, have been terminated or otherwise expired by their terms, or have been
                assigned or otherwise transferred pursuant to a sale, acquisition, or other
                transaction. Conversely, inclusion of certain intellectual property should not be
                construed to be an admission that such intellectual property rights have not been
                abandoned, have not been terminated or otherwise expired by their terms, or have
                                                  3
US_ACTIVE\123995356\V-1
               Case 23-10699-CTG          Doc 27       Filed 06/30/23   Page 4 of 27




                not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
                transaction.

        g.      Insiders. The listing of a party as an insider for purposes of the Schedules and
                Statements is not intended to be, nor should it be, construed as an admission of any
                fact, right, claim, or defense, and all such rights, claims, and defenses are hereby
                expressly reserved. Information regarding the individuals listed as insiders in the
                Schedules and Statements has been included for informational purposes only and
                such information may not be used for the purposes of determining control of the
                Debtors, the extent to which any individual exercised management responsibilities
                or functions, corporate decision-making authority over the Debtors, or whether such
                individual could successfully argue that he or she is not an insider under applicable
                law, including the Bankruptcy Code and federal securities laws, or with respect to
                any theories of liability or any other purpose.

                In the circumstance where the Schedules and Statements require information
                regarding “insiders”, the Debtors have included information with respect to the
                individuals or entities who the Debtors believe are included in the definition of
                “insider” set forth in section 101(31) of the Bankruptcy Code during the relevant
                time periods.

4.      Methodology.

        a.      Basis of Presentation. The Schedules and Statements do not purport to represent
                financial statements prepared in accordance with Generally Accepted Accounting
                Principles in the United States (“GAAP”), nor are they intended to be fully
                reconciled to the financial statements of each Debtor. The Schedules and
                Statements contain unaudited information that is subject to further review and
                potential adjustment. The Schedules and Statements reflect the Debtors’ reasonable
                efforts to report the assets and liabilities of each Debtor on an unconsolidated basis
                except as noted on the applicable Schedules/Statements or herein.

        c.      Net Book Value. In certain instances, current market valuations for individual
                items of property and other assets are neither maintained by, nor readily available
                to, the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
                and Statements reflect estimates of net book values as of the Petition Date. Market
                values may vary, at some times materially, from net book values. It would be
                prohibitively expensive, unduly burdensome, and an inefficient use of estate assets
                for the Debtors to obtain the current market values of all their property.
                Accordingly, the Debtors have indicated in the Schedules and Statements that the
                values of certain assets and liabilities are undetermined. Amounts ultimately
                realized may vary materially from net book value (or whatever value was
                ascribed). Accordingly, the Debtors reserve all rights to amend, supplement, or
                adjust the asset values set forth herein. Also, assets that have been fully
                depreciated or that were expensed for accounting purposes either do not appear in
                these Schedules and Statements or are listed with a zero-dollar value, as such
                assets have no net book value. Property and Equipment. Unless otherwise
                indicated, owned property and equipment are valued at net book value, net of

                                                   4
US_ACTIVE\123995356\V-1
               Case 23-10699-CTG          Doc 27       Filed 06/30/23   Page 5 of 27




                accumulated depreciation and other adjustments.

        d.      Undetermined Amounts. The description of an amount as “unknown” is not
                intended to reflect upon the materiality of such amount.

        e.      Unliquidated Amounts. Amounts that could not be fairly quantified by the
                Debtors are scheduled as “unliquidated” or “unknown.”

        f.      Totals. All totals that are included in the Schedules and Statements represent totals
                of all known amounts. To the extent there are unknown or undetermined amounts,
                the actual total may be different than the listed total.

        g.      Intercompany claims. The listing of any amounts with respect to intercompany
                receivables and payables is not, and should not be construed as, an admission of
                the characterization of such balances as debt, equity, or otherwise.

        h.      Guarantees and Other Secondary Liability Claims. The Debtors have exercised
                reasonable efforts to locate and identify guarantees in their executory contracts,
                unexpired leases, secured financings, and other such agreements. Where guarantees
                have been identified, they have been included in the relevant Schedule G with
                respect to leases and Schedule D with respect to credit agreements for the affected
                Debtor or Debtors and are reflected in Schedule H. The Debtors reserve their rights
                to amend the Schedules and Statements if additional guarantees are identified.

        i.      Liens. The property and equipment listed in the Schedules and Statements are
                presented without consideration of any liens.

        j.      Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

5.      Specific Schedules Disclosures.

        a.      Schedule A/B, Part 4 - Investments; Non-Publicly Traded Stock and Interests
                in Incorporated and Unincorporated Businesses, including any Interest in an
                LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries have
                been listed in Schedule A/B, Part 4, as undetermined amounts on account of the
                fact that the fair market value of such ownership is dependent on numerous
                variables and factors, and may differ significantly from their net book value.

        b.      Schedule A/B, Part 7 - Office Furniture, Fixtures, and Equipment; and
                Collectibles. Dollar amounts are presented net of accumulated depreciation and
                other adjustments.

        d.      Schedule A/B, Part 9 – Real Property. The Debtors do not own any real
                property. Schedule D - Creditors Who Have Claims Secured by Property.
                Although the Debtors have scheduled claims of various creditors as secured
                claims, the Debtors reserve all rights to dispute or challenge the secured nature of
                any such creditor’s claim or the characterization of the structure of any such
                transaction or any document or instrument related to such creditor’s claim. The
                Debtors further reserve their rights to dispute or challenge the validity, perfection,
                                                   5
US_ACTIVE\123995356\V-1
               Case 23-10699-CTG          Doc 27       Filed 06/30/23   Page 6 of 27




                or immunity from avoidance of any lien purported to be granted or perfected in
                any specific asset to a secured creditor listed on Schedule D.

                The descriptions provided in Schedule D are intended only to be a summary.
                Reference to the applicable agreements and other related relevant documents is
                necessary for a complete description of the collateral and the nature, extent, and
                priority of any liens.

        e.      Schedule E/F - Creditors Who Have Unsecured Claims.

                Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified in
                Schedule E/F, Part 2, are derived from the Debtors’ books and records. The
                Debtors made a reasonable attempt to set forth their unsecured obligations,
                although the actual amount of claims against the Debtors may vary from those
                liabilities represented on Schedule E/F, Part 2. The listed liabilities may not reflect
                the correct amount of any unsecured creditor’s allowed claims or the correct
                amount of all unsecured claims.

                Schedule E/F, Part 2 reflects liabilities based on the Debtors’ books and records.

                Schedule E/F, Part 2, contains information regarding threatened or pending
                litigation involving the Debtors. The amounts for these potential claims are listed
                as “unknown” and are marked as contingent, unliquidated, and disputed in the
                Schedules and Statements.

                Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties to
                executory contracts and unexpired leases. Such prepetition amounts, however, may
                be paid in connection with the assumption or assumption and assignment of an
                executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does not
                include claims that may arise in connection with the rejection of any executory
                contracts and unexpired leases, if any, that may be or have been rejected.

        f.      Schedule G - Executory Contracts and Unexpired Leases. While reasonable
                efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
                omissions may have occurred. Listing a contract or agreement on Schedule G does
                not constitute an admission that such contract or agreement is an executory contract
                or unexpired lease or that such contract or agreement was in effect on the Petition
                Date or is valid or enforceable. The Debtors hereby reserve allof their rights to
                dispute the validity, status, or enforceability of any contracts, agreements, or leases
                set forth in Schedule G and to amend or supplement such Schedule as necessary.
                Certain of the leases and contracts listed on Schedule G may contain renewal
                options, guarantees of payment, indemnifications, options to purchase, rights of
                first refusal, and other miscellaneous rights. Such rights, powers, duties, and
                obligations are not set forth separately on Schedule G. In addition, the Debtors may
                have entered into various other types of agreements in the ordinary course of their
                business, such as supplemental agreements, amendments, and letter agreement,
                which documents may not be set forth in Schedule G.

                The Debtors reserve all rights to dispute or challenge the characterization of any
                                                   6
US_ACTIVE\123995356\V-1
               Case 23-10699-CTG         Doc 27       Filed 06/30/23   Page 7 of 27




                transaction or any document or instrument related to a creditor’s claim.

                The listing of any contract on Schedule G does not constitute an admission by the
                Debtors as to the validity of any such contract. The Debtors reserve the right to
                dispute the effectiveness of any such contract listed on Schedule G or to amend
                Schedule G at any time to remove any contract.

                Omission of a contract or agreement from Schedule G does not constitute an
                admission that such omitted contract or agreement is not an executory contract or
                unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
                any such omitted contracts or agreements are not impaired by the omission.
                Certain Debtors are guarantors and parties to guaranty agreements regarding the
                Debtors’ prepetition credit facility. The guaranty obligations arising under these
                agreements are reflected on Schedule H only.

6.      Specific Statements Disclosures.

        a.      Statements, Part 13, Question 25 – Other businesses in which the debtor has
                or had an interest. The Debtors believe that they have provided a complete list
                disclosing its ownership before the filing of these cases.




                                                  7
US_ACTIVE\123995356\V-1
                                  Case 23-10699-CTG                     Doc 27           Filed 06/30/23          Page 8 of 27


Fill in this information to identify the case:

Debtor name     Agspring, LLC
United States Bankruptcy Court for the:                                District of DE
                                                                               (State)
Case number (If known):     23-10699


                                                                                                                                             Check if this is an
                                                                                                                                             amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                        04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


    Part 1:          Income


    1. Gross revenue from business

            None

                                                                                                                                      Gross revenue
                Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue
                                                                                                                                      (before deductions and
                may be a calendar year                                                            Check all that apply
                                                                                                                                      exclusions)


              From the beginning of the                                                                Operating a business
              fiscal year to filing date:      From                    to      Filing date             Other                          $
                                                     MM / DD / YYYY

              For prior year:
                                               From                    to                              Operating a business           $
                                                     MM / DD / YYYY             MM / DD / YYYY
                                                                                                       Other

              For the year before that:        From                    to                              Operating a business
                                                     MM / DD / YYYY             MM / DD / YYYY
                                                                                                       Other                          $



    2. Non-business revenue
        Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
        from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

            None

                                                                                                  Description of sources of revenue
                                                                                                                                      Gross revenue from each
                                                                                                                                      source
                                                                                                                                      (before deductions and
                                                                                                                                      exclusions)

               From the beginning of the
               fiscal year to filing date:     From                     to     Filing date                                            $
                                                      MM / DD / YYYY


               For prior year:                 From                     to
                                                      MM / DD / YYYY           MM / DD / YYYY
                                                                                                                                      $



               For the year before that:       From                     to
                                                      MM / DD / YYYY             MM / DD / YYYY
                                                                                                                                      $




  Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 1
                                                                                                                                      American LegalNet, Inc.
                                                                                                                                      www.FormsWorkFlow.com
                               Case 23-10699-CTG                   Doc 27           Filed 06/30/23            Page 9 of 27

Debtor     Agspring, LLC                                                                     Case number (if known)    23-10699
            Name




 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None

                                                                                                            Reasons for payment or transfer
          Creditor’s name and address                          Dates         Total amount or value
                                                                                                            Check all that apply
   3.1.

                                                                                $                                     Secured debt
           Creditor’s name
                                                                                                                      Unsecured loan repayments
           Street                                                                                                     Suppliers or vendors
                                                                                                                      Services

           City                 State            ZIP Code
                                                                                                                      Other

   3.2.
                                                                                $                                     Secured debt
           Creditor’s name
                                                                                                                      Unsecured loan repayments

           Street                                                                                                     Suppliers or vendors
                                                                                                                      Services

           City                 State            ZIP Code
                                                                                                                      Other

 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

          None

           Insider’s name and address                         Dates          Total amount or value         Reasons for payment or transfer

   4.1.
           See SOFA 4 Attachment                                            $
           Insider’s name


           Street




           City                State             ZIP Code


           Relationship to debtor



   4.2.
                                                                            $
           Insider’s name


           Street




           City                State             ZIP Code


           Relationship to debtor




Official Form 207                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
                                                                                                                                             American LegalNet, Inc.
                                                                                                                                             www.FormsWorkFlow.com
                               Case 23-10699-CTG                      Doc 27        Filed 06/30/23                   Page 10 of 27

Debtor      Agspring, LLC                                                                            Case number (if known)    23-10699
              Name




 5. Repossessions, foreclosures, and returns
    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
    sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None
           Creditor’s name and address                          Description of the property                                       Date                 Value of property
    5.1.

                                                                                                                                                       $
           Creditor’s name


           Street




           City                 State            ZIP Code
    5.2.

                                                                                                                                                       $
           Creditor’s name


           Street




           City                 State            ZIP Code

 6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.

           None
                                                                                                                                 Date action was
            Creditor’s name and address                           Description of the action creditor took                                                  Amount
                                                                                                                                 taken

                                                                                                                                                      $
            Creditor’s name


            Street


                                                                 Last 4 digits of account number: XXXX–
            City                State             ZIP Code

 Part 3:          Legal Actions or Assignments
 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
            Case title                               Nature of case                            Court or agency’s name and address                     Status of case

    7.1.                                                                                                                                                    Pending
            See SOFA 7 Attachment
                                                                                              Name
                                                                                                                                                             On appeal
            Case number
                                                                                              Street                                                         Concluded



                                                                                              City                     State             ZIP Code


            Case title                                                                         Court or agency’s name and address

    7.2.                                                                                                                                                    Pending
                                                                                              Name
                                                                                                                                                             On appeal
            Case number
                                                                                              Street                                                         Concluded



                                                                                              City                     State             ZIP Code


Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 3
                                                                                                                                                American LegalNet, Inc.
                                                                                                                                                www.FormsWorkFlow.com
                                 Case 23-10699-CTG                   Doc 27          Filed 06/30/23               Page 11 of 27

Debtor       Agspring, LLC                                                                        Case number (if known)    23-10699
               Name




 8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
    hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
         None

             Custodian’s name and address                         Description of the property                       Value

                                                                                                                     $
             Custodian’s name
                                                                 Case title                                          Court name and address
              Street


                                                                                                                   Name
                                                                 Case number
              City                   State         ZIP Code                                                        Street



                                                                 Date of order or assignment
                                                                                                                   City                   State                   ZIP Code



 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
    of the gifts to that recipient is less than $1,000
         None

             Recipient’s name and address                          Description of the gifts or contributions                    Dates given               Value


     9.1.                                                                                                                                             $
            Recipient’s name


            Street




            City                    State          ZIP Code


             Recipient’s relationship to debtor




     9.2.                                                                                                                                             $
            Recipient’s name


            Street




            City                    State          ZIP Code

             Recipient’s relationship to debtor




 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
          None

             Description of the property lost and how the loss   Amount of payments received for the loss                      Date of loss          Value of property
             occurred                                            If you have received payments to cover the loss, for                                lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                                                                                                      $


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4

                                                                                                                                              American LegalNet, Inc.
                                                                                                                                              www.FormsWorkFlow.com
                               Case 23-10699-CTG                    Doc 27         Filed 06/30/23             Page 12 of 27

Debtor     Agspring, LLC                                                                      Case number (if known)   23-10699
             Name




 Part 6:      Certain Payments or Transfers
 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

           None
                                                                                                                                              Total amount or
           Who was paid or who received the transfer?          If not money, describe any property transferred             Dates
                                                                                                                                              value

   11.1.
                                                                                                                                               $
           Address


           Street




           City                      State         ZIP Code

           Email or website address




           Who made the payment, if not debtor?




                                                                                                                                              Total amount or
           Who was paid or who received the transfer?          If not money, describe any property transferred             Dates
                                                                                                                                              value

   11.2.
                                                                                                                                               $
           Address


           Street




           City                  State             ZIP Code
           Email or website address



           Who made the payment, if not debtor?




 12. Self-settled trusts of which the debtor is a beneficiary

    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
    a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None

                                                                                                                           Dates transfers     Total amount or
           Name of trust or device                              Describe any property transferred
                                                                                                                           were made           value


                                                                                                                                                $

            Trustee




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5

                                                                                                                                       American LegalNet, Inc.
                                                                                                                                       www.FormsWorkFlow.com
                               Case 23-10699-CTG                    Doc 27            Filed 06/30/23            Page 13 of 27

Debtor     Agspring, LLC                                                                       Case number (if known)   23-10699
             Name




 13. Transfers not already listed on this statement
     List any transfers of money or other property⎯by sale, trade, or any other means-made by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


           None


                                                              Description of property transferred or payments received     Date transfer         Total amount or
           Who received transfer?
                                                              or debts paid in exchange                                    was made              value



   13.1.                                                                                                                                           $

           Address


           Street




           City                        State     ZIP Code


            Relationship to debtor




            Who received transfer?
                                                                                                                                                   $

   13.2.


            Address


           Street




           City                        State     ZIP Code


            Relationship to debtor




 Part 7:      Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

           Does not apply

              Address                                                                                            Dates of occupancy


   14.1.                                                                                                          From                           To
            Street




           City                                             State          ZIP Code


   14.2.                                                                                                          From                           To
            Street




           City                                             State          ZIP Code

Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 6

                                                                                                                                           American LegalNet, Inc.
                                                                                                                                           www.FormsWorkFlow.com
                                   Case 23-10699-CTG                 Doc 27           Filed 06/30/23               Page 14 of 27

Debtor      Agspring, LLC                                                                         Case number (if known)   23-10699
                 Name




  Part 8:          Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:

     ⎯ diagnosing or treating injury, deformity, or disease, or
     ⎯ providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.

                                                                                                                                            If debtor provides meals
                                                               Nature of the business operation, including type of services the
            Facility name and address                                                                                                       and housing, number of
                                                               debtor provides
                                                                                                                                            patients in debtor’s care


   15.1.
            Facility name



            Street
                                                              Location where patient records are maintained (if different from facility
                                                                                                                                            How are records kept?
                                                              address). If electronic, identify any service provider.
                                                                                                                                            Check all that apply:

            City                     State     ZIP Code                                                                                         Electronically
                                                                                                                                                Paper

                                                                                                                                           If debtor provides meals
                                                               Nature of the business operation, including type of services the
            Facility name and address                                                                                                      and housing, number of
                                                               debtor provides
                                                                                                                                           patients in debtor’s care


   15.2.
            Facility name



            Street                                                                                                                          How are records kept?
                                                              Location where patient records are maintained (if different from facility
                                                              address). If electronic, identify any service provider.
                                                                                                                                            Check all that apply:

            City                     State     ZIP Code                                                                                         Electronically
                                                                                                                                                Paper

  Part 9:            Personally Identifiable Information
 16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.
                Does the debtor have a privacy policy about that information?
                        No

                         Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                        No. Go to Part 10.
                        Yes. Fill in below:
                         Name of plan                                                                             Employer identification number of the plan

                                                                                                                 EIN:            -
                        Has the plan been terminated?

                             No
                             Yes

Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7
                                                                                                                                            American LegalNet, Inc.
                                                                                                                                            www.FormsWorkFlow.com
                                Case 23-10699-CTG                     Doc 27          Filed 06/30/23            Page 15 of 27

Debtor      Agspring, LLC                                                                      Case number (if known)   23-10699
              Name




 Part 10:          Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

            None

            Financial institution name and address         Last 4 digits of account        Type of account               Date account was        Last balance
                                                           number                                                        closed, sold, moved,    before closing or
                                                                                                                         or transferred          transfer

   18.1.                                                   XXXX–                                 Checking                                         $
            Name
                                                                                                 Savings
            Street                                                                               Money market

                                                                                                 Brokerage
            City                 State       ZIP Code
                                                                                                 Other


   18.2.                                                   XXXX–                                 Checking                                         $
            Name
                                                                                                 Savings
            Street
                                                                                                 Money market

                                                                                                 Brokerage
            City                 State       ZIP Code
                                                                                                 Other

 19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.

            None
                                                                                                                                                       Does debtor
             Depository institution name and address         Names of anyone with access to it           Description of the contents
                                                                                                                                                       still have it?


                                                                                                                                                             No
            Name
                                                                                                                                                             Yes
            Street



                                                            Address
            City                State        ZIP Code




 20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

           None
                                                                                                                                                       Does debtor
             Facility name and address                       Names of anyone with access to it           Description of the contents
                                                                                                                                                       still have it?
                                                                                                                                                             No
            Name                                                                                                                                             Yes

            Street



                                                            Address
            City                State        ZIP Code




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 8
                                                                                                                                          American LegalNet, Inc.
                                                                                                                                          www.FormsWorkFlow.com
                              Case 23-10699-CTG                       Doc 27            Filed 06/30/23           Page 16 of 27

Debtor    Agspring, LLC                                                                         Case number (if known)   23-10699
            Name




 Part 11:         Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

         None
          Owner’s name and address                           Location of the property                 Description of the property                 Value


                                                                                                                                                  $
          Name



          Street




            City             State         ZIP Code



 Part 12:         Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant,
   contaminant, or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

         No
         Yes. Provide details below.
          Case title                                   Court or agency name and address                   Nature of the case                   Status of case


                                                      Name                                                                                            Pending
          Case number
                                                                                                                                                      On appeal

                                                      Street
                                                                                                                                                      Concluded




                                                      City                    State        ZIP Code



  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
      environmental law?

         No
         Yes. Provide details below.

         Site name and address                         Governmental unit name and address               Environmental law, if known          Date of notice



           Name
                                                      Name


           Street                                     Street




           City               State         ZIP Code City                      State       ZIP Code



Official Form 207                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 9
                                                                                                                                      American LegalNet, Inc.
                                                                                                                                      www.FormsWorkFlow.com
                              Case 23-10699-CTG                     Doc 27         Filed 06/30/23              Page 17 of 27

Debtor     Agspring, LLC                                                                      Case number (if known)   23-10699
             Name




  24. Has the debtor notified any governmental unit of any release of hazardous material?
           No
           Yes. Provide details below.

           Site name and address                       Governmental unit name and address            Environmental law, if known                    Date of notice


            Name                                      Name


            Street                                    Street




            City                State      ZIP Code     City               State         ZIP Code




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

           None

                                                                                                                Employer Identification number
           Business name and address                   Describe the nature of the business
                                                                                                                Do not include Social Security number or ITIN.

   25.1.   See SOFA 25 Attachment                                                                               EIN:           -
            Name                                                                                                 Dates business existed


            Street
                                                                                                                From                 To

            City                   State   ZIP Code



                                                                                                                Employer Identification number
  25.2.    Business name and address                   Describe the nature of the business
                                                                                                                Do not include Social Security number or ITIN.

                                                                                                                EIN:           -
            Name                                                                                                 Dates business existed


            Street
                                                                                                                From                 To

            City                   State   ZIP Code


                                                                                                                Employer Identification number
           Business name and address                   Describe the nature of the business
                                                                                                                Do not include Social Security number or ITIN.

   25.3.                                                                                                        EIN:           -
            Name
                                                                                                                 Dates business existed


            Street
                                                                                                                From                 To

            City                   State   ZIP Code




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
                                                                                                                                          American LegalNet, Inc.
                                                                                                                                          www.FormsWorkFlow.com
                                 Case 23-10699-CTG                  Doc 27        Filed 06/30/23              Page 18 of 27

Debtor      Agspring, LLC                                                                    Case number (if known)   23-10699
              Name




 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                  None

              Name and address                                                                                 Dates of service


   26a.1.     Bruce Chapin                                                                                     From               To
              Name
              5101 College Boulevard
              Street


              Leawood,                                           KS                     66211
              City                                               State                 ZIP Code



              Name and address                                                                                 Dates of service


   26a.2.                                                                                                      From               To
              Name


              Street




              City                                               State                 ZIP Code


    26b.    List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                  None


              Name and address                                                                                 Dates of service


         26b.1.      CBIZ, MHM LLC (Tax)                                                                       From 09/10/19 To Present
                     Name
                     700 West 47th Street
                     Street
                     Suite 1100
                     Kansas City,                                   MO                  64112
                     City                                           State                 ZIP Code


              Name and address                                                                                 Dates of service


         26b.2.                                                                                                From               To
                     Name


                     Street




                     City                                           State                 ZIP Code


     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                  None
                                                                                                               If any books of account and records are
                     Name and address
                                                                                                               unavailable, explain why


         26c.1.      See SOFA 26c Attachment
                     Name


                     Street




                     City                                           State                 ZIP Code


Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 11
                                                                                                                                       American LegalNet, Inc.
                                                                                                                                       www.FormsWorkFlow.com
                                   Case 23-10699-CTG                Doc 27        Filed 06/30/23                Page 19 of 27

Debtor      Agspring, LLC                                                                      Case number (if known)   23-10699
              Name




                      Name and address                                                                           If any books of account and records are
                                                                                                                 unavailable, explain why

         26c.2.
                      Name


                      Street




                      City                                           State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                    None

                      Name and address


         26d.1.
                      Name


                      Street




                      City                                           State                   ZIP Code


                      Name and address


         26d.2.
                      Name


                      Street




                      City                                           State                   ZIP Code




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
            No
            Yes. Give the details about the two most recent inventories.



                                                                                                  Date of         The dollar amount and basis (cost, market, or
            Name of the person who supervised the taking of the inventory
                                                                                                  inventory       other basis) of each inventory


                                                                                                                 $

            Name and address of the person who has possession of inventory records



    27.1.
             Name


             Street




             City                                        State                    ZIP Code




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 12
                                                                                                                                         American LegalNet, Inc.
                                                                                                                                         www.FormsWorkFlow.com
                                  Case 23-10699-CTG                 Doc 27       Filed 06/30/23                Page 20 of 27

Debtor     Agspring, LLC                                                                     Case number (if known)   23-10699
             Name




                                                                                               Date of         The dollar amount and basis (cost, market, or
            Name of the person who supervised the taking of the inventory
                                                                                               inventory       other basis) of each inventory

                                                                                                               $

           Name and address of the person who has possession of inventory records



   27.2.
            Name


            Street




            City                                    State                         ZIP Code



 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

                                                                                                        Position and nature of any
            Name                                Address                                                                                      % of interest, if any
                                                                                                        interest
                                                                                                                                               100%
            Agspring Holdco,                  5101 College Boulevard                                                                           ownership
            LLC                               Leawood, KS 66211                                          Holding                               interest
                                              1175 Peachtree St., NE
                                              Suite 1000                                                 Chief Restructuring
            Kyle Sturgeon                     Atlanta, GA 30309                                          Officer




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
      of the debtor, or shareholders in control of the debtor who no longer hold these positions?
           No
           Yes. Identify below.

                                                                                                           Position and nature of      Period during which
           Name                                  Address                                                                               position or interest was
                                                                                                           any interest
                                                                                                                                       held

                                                                                                                                      From             To
                                                                                                                                      From             To

                                                                                                                                      From             To

                                                                                                                                      From             To

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.
                                                                                      Amount of money or
                                                                                                                                              Reason for
            Name and address of recipient                                             description and value of             Dates
                                                                                                                                              providing the value
                                                                                      property


   30.1.
            Name


            Street




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 13
                                                                                                                                        American LegalNet, Inc.
                                                                                                                                        www.FormsWorkFlow.com
                              Case 23-10699-CTG            Doc 27       Filed 06/30/23          Page 21 of 27
          City                               State          ZIP Code

           Relationship to debtor




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy               page 13
                                                                                                                American LegalNet, Inc.
                                                                                                                www.FormsWorkFlow.com
                                    Case 23-10699-CTG                   Doc 27       Filed 06/30/23              Page 22 of 27

Debtor      Agspring, LLC                                                                      Case number (if known)   23-10699
              Name




             Name and address of recipient


   30.2
             Name


            Street




            City                                            State        ZIP Code


            Relationship to debtor




 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
            No
            Yes. Identify below.

            Name of the parent corporation                                                                Employer Identification number of the parent
                                                                                                          corporation

            Agspring Holdco, LLC,                                                                      EIN:             –    3178


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

             Name of the pension fund                                                                   Employer Identification number of the pension fund

                                                                                                        EIN:             –



  Part 14:           Signature and Declaration



            WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
            connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.


            I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
            is true and correct.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 06/30/2023
                              MM / DD / YYYY




         /s/ Kyle Sturgeon
            Signature of individual signing on behalf of the debtor
                                                                                         Printed name Kyle Sturgeon



            Position or relationship to debtor   Chief Restructuring Officer



         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
             Yes



Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 14
                                                                                                                                         American LegalNet, Inc.
                                                                                                                                         www.FormsWorkFlow.com
                                 Case 23-10699-CTG        Doc 27    Filed 06/30/23     Page 23 of 27




                                                         In re: Agspring, LLC
                                                         Case No. 23-10699
                                                       SOFA – Attachment 4
             Payments or other transfers of property made within 1 year before filing this case that benefited any insider

  Firm/Individual               Address          City    State    Zip    Who made      If not money,       Dates      Total amount
                                                                             the        describe any                  or value
                                                                         payment if        property
                                                                         not debtor      transferred
 US Bank National         214 N. Tryon Street   Irving    TX     75039                                 05/23/2022      $1,500,000.00
   Association            Suite 1100


 US Bank National         214 N. Tryon Street   Irving    TX     75039                                 05/23/2022       $300,000.00
   Association            Suite 1100


      Lenders                                                                                          08/25/2022      $2,000,000.00
    Eric Knight                                                                                        05/19/2023       $12,500.00
     (Director)
  Gerald Tywonuk                                                                                       05/19/2023        $12,500.00
     (Director)




US_ACTIVE\124009753\V-1
                                         Case 23-10699-CTG            Doc 27        Filed 06/30/23      Page 24 of 27




                                                                     In Re: Agspring, LLC
                                                                     Case No. 23 –10699

                                                                   SOFA Attachment 7
                       Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits


    Case Title            Case No.          Nature of the                  Venue                 Court Address    Court City   Court   Court   Status of Case
                                                Case                                                                           State    Zip
 Agspring, LLC, V        N22J-02924                             Superior Court of The State
                                             Judgment                                            500 North King   Wilmington    DE     19801       Stayed
NGP X US Holdings,                                                     of Delaware
                                            Enforcement                                              Street
       L.P.

                         19cv00248                              In The Tenth Judicial District                                                     Action
Bradley K. Clark et.                           Tortious                                          150 W Santa Fe   St. Olathe    KS     66061
                                                                  Court of Johnson County,                                                       Dismissed.
al., V. Agspring LLC                      Interference with
                                                                  Kansas Civil Department                                                         Plaintiffs
                                          Contact; breach of
                                                                                                                                                 Motion for
                                           contract; fraud
                                                                Division: 4 K.S.A. Chapter 60                                                  Reconsideration
                                                                                                                                                   Stayed


                         2018-0567                              In The Court of Chancery of
Agspring LLC et. al.                          Fraud in the                                       500 North King   Wilmington    DE     19801       Stayed
                            AGB                                    The State of Delaware
 v. NGP Holdings,                            Inducement;                                             Street
      et.al.                              breach of fiduciary
                                                 duty
                          75, 2022             Appeal             In the Supreme Court of                                                        Concluded
Agspring LLC et. al.                                                                             55 The Green       Dover       DE     19901
                                                                          Delaware
 v. NGP Holdings,
      et.al.            C.A. No. 2019-
                             1021




US_ACTIVE\123995215\V-1
                                 Case 23-10699-CTG        Doc 27     Filed 06/30/23   Page 25 of 27




                                                         In re: Agspring, LLC
                                                         Case No. 23-10699
                                                        SOFA – Attachment 11
                                                    Payments related to bankruptcy

Firm/Individual           Address            City        State     Zip   Who made     If not money,     Dates      Total amount
                                                                            the        describe any                or value
                                                                         payment if      property
                                                                         not debtor     transferred
Dentons US          601 S Figueroa St #   Los Angeles     CA     90017                                05/19/2023    $358,072.06
LLP                        2500

MERU, LLC             1175 Peachtree        Atlanta       GA     30309                                05/19/2023     125,000.00
                          St., N.E.                                                                   05/30/2023
                         Suite 100

Pachulski           919 North Market      Wilmington      DE     19899                                05/05/2023    $159,435.77
Stang Ziehl &            Street                                                                       05/19/2023
Jones LLP              17th Floor




US_ACTIVE\123974483\V-1
                  Case 23-10699-CTG          Doc 27    Filed 06/30/23    Page 26 of 27




                                            In re: Agspring, LLC
                                            Case No. 23-10699
                                           SOFA - Attachment 25
                        Other business in which the debtor has or has had an interest

       Business Name and Address                Describe the nature        Employer Identification
                                                  of the business                Number
Agspring Idaho 1, LLC                                 Member                    XX-XXXXXXX
101 College Boulevard
Leawood KS66211
Agspring Logistics, LLC dba Agforce                   Member                     XX-XXXXXXX
101 College Boulevard
Leawood KS66211
FO-ND, LLC dba Firebird                               Member                     XX-XXXXXXX
Artisan Mills, LLC
101 College Boulevard
Leawood KS66211
Agspring Mississippi Region, LLC                      Member                     XX-XXXXXXX
101 College Boulevard
Leawood KS66211




    US_ACTIVE\124007659\V-1
              Case 23-10699-CTG       Doc 27     Filed 06/30/23      Page 27 of 27




                                      In re: Agspring, LLC
                                      Case No. 23-10699
                                     SOFA - Attachment 26c
List all firms or individuals who were in possession of the debtor’s books of accounts when this
                                            case is filed

  Firm/Individual              Address 1           City        State     Zip      If any books of
                                                                                    account and
                                                                                     records are
                                                                                    unavailable,
                                                                                    explain why
   Bruce Chapin              5101 College        Leawood        KS      66211
                              Boulevard
   Sam Hawkins
  Paul Highstrom




US_ACTIVE\123989265\V-1
